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                                            PUBLISHED

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT


                                             No. 21-1994


        WINSTON TYLER HENCELY,

                           Plaintiff – Appellant,

                    v.

        FLUOR CORPORATION; FLUOR ENTERPRISES, INC.;                          FLUOR
        INTERCONTINENTAL,    INC.; FLUOR GOVERNMENT                          GROUP
        INTERNATIONAL, INC.,

                           Defendants – Appellees.


        Appeal from the United States District Court for the District of South Carolina, at
        Greenville. Bruce H. Hendricks, District Judge. (6:19-cv-00489-BHH)


        Argued: March 10, 2022                                    Decided: October 30, 2024


        Before AGEE, RUSHING, and HEYTENS, Circuit Judges.


        Affirmed by published opinion. Judge Rushing wrote the opinion, in which Judge Agee
        joined. Judge Heytens wrote an opinion concurring in part and dissenting in part.


        ARGUED: Robert Henry Snyder, Jr., CANNELLA SNYDER LLC, Decatur, Georgia,
        for Appellant. Daniel L. Russell, Jr., COVINGTON & BURLING LLP, Washington, D.C.,
        for Appellees. ON BRIEF: James E. Butler, Jr., BUTLER WOOTEN & PEAK LLP,
        Atlanta, Georgia; W. Andrew Bowen, Paul Painter, III, BOWEN PAINTER, LLC,
        Savannah, Georgia; Beattie Ashmore, BEATTIE B. ASHMORE, P.A., Greenville, South
        Carolina; D. Josev Brewer, THE LAW OFFICE OF D. JOSEV BREWER, Greenville,
        South Carolina, for Appellant. Andrew A. Mathias, Konstantine P. Diamaduros, NEXSEN
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        PRUET, LLC, Greenville, South Carolina; Raymond B. Biagini, COVINGTON &
        BURLING LLP, Washington, D.C., for Appellees.




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        RUSHING, Circuit Judge:

                  This lawsuit arises out of a 2016 suicide bombing at the United States military base

        at Bagram Airfield in Afghanistan. The bomber was employed on base by a private

        military contractor, which provided support services to the armed forces. He is suspected

        to have constructed an explosive vest while working unsupervised during his night shift

        and, on the morning of the attack, made his way undetected to a crowded location where

        he detonated the device.

                  An American soldier wounded in the attack sued the contractor under South

        Carolina law, alleging that the contractor’s supervision, entrustment, and retention of the

        bomber were negligent. He also alleged the contractor breached its contract with the U.S.

        Government.

                  The district court granted judgment to the contractor on all claims. The court

        concluded that federal law preempted the plaintiff’s tort claims and that he was not a third-

        party beneficiary entitled to enforce the Government’s contract. After careful review, we

        affirm.

                                                       I.

                                                       A.

                  The plaintiff, Specialist Winston Tyler Hencely, is a former soldier in the U.S.

        Army. In 2016, Hencely was stationed at Bagram Airfield, formerly the largest U.S.

        military base in Afghanistan, as part of Operation Freedom’s Sentinel.

                  The defendant, Fluor Corporation, had a contract with the U.S. Department of

        Defense to provide base life support services and theater transportation mission functions

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        to U.S. and coalition forces in Afghanistan, including at Bagram Airfield. These services

        included, among other things, construction, facilities management, laundry, food,

        recreation, and, relevant here, vehicle maintenance and hazardous materials management.

               The suicide bomber, Ahmad Nayeb, was an Afghan national. He was employed by

        a Fluor subcontractor and worked the night shift at the hazardous materials section of the

        non-tactical vehicle yard at Bagram Airfield. Nayeb was hired pursuant to the “Afghan

        First” program. This program was part of the United States’ counterinsurgency strategy in

        Afghanistan, with the goal of “developing the Afghan economy” and fostering a

        “moderate, stable, and representative Afghanistan capable of controlling and governing its

        territory.” J.A. 3041. One aspect of the program involved training and employing Afghans

        for “jobs being performed by contracted personnel, [Department of Defense] civilians, and

        even US military personnel.” J.A. 3042. In accordance with the Afghan First program,

        Fluor’s contract with the U.S. Government obligated it to hire Afghans—referred to as

        “Local Nationals” or “Host Nationals”—“to the maximum extent possible.” J.A. 3048

        ¶ 01.07(b). Fluor subcontracted with a labor broker to hire Local Nationals, including

        Nayeb, to work at Bagram Airfield. The Army sponsored Nayeb’s hiring.

                                                    B.

               By way of background, “[s]ince the United States began its military operations in

        Afghanistan and Iraq in 2001 and 2003, respectively, the U.S. military has depended

        heavily on contractors to support its mission.” In re: KBR, Inc., Burn Pit Litig., 893 F.3d

        241, 253 (4th Cir. 2018). Indeed, contractors often comprised the majority of the U.S.

        Department of Defense’s presence in Afghanistan. See Heidi M. Peters, CONG. RSCH.

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        SERV., RL44116, Department of Defense Contractor and Troop Levels in Afghanistan and

        Iraq: 2007–2020 1 (2021). The Army’s contracting program is called the Logistics Civil

        Augmentation Program, or “LOGCAP” for short. This case involves the fourth generation

        of the program, LOGCAP IV. The military executes LOGCAP IV through “task orders,”

        which incorporate “statements of work” defining a contractor’s responsibilities.

               The Department of Defense entered its LOGCAP IV contract with Fluor in 2007.

        Two years later, Fluor was awarded Task Order 0005, which included Fluor’s work in the

        eastern and northern sections of Afghanistan. Task Order 0005 was governed by a

        Performance Work Statement (PWS). As relevant here, the PWS required Fluor to

        “provide all necessary personnel, supervision, [and] management . . . required in support

        of this [Task Order].” J.A. 3053 ¶ 03.03(a). The PWS elsewhere stated that Fluor “shall

        provide the necessary personnel with appropriate skills” to perform the contracted services;

        that Fluor “is responsible for ensuring all personnel supporting this [Task Order] comply

        with the standards of conduct” and all contract terms and conditions; and that Fluor “shall

        provide the necessary supervision for personnel required to perform this contract.” J.A.

        3048 ¶ 01.07(a).

               As mentioned, the PWS also obligated Fluor to “hire [Local National] personnel

        and Subcontractors to the maximum extent possible in performance of this contract.” J.A.

        3048 ¶ 01.07(b). Fluor was “responsible for oversight of such personnel or Subcontractors

        to ensure compliance with all terms of the [contract].” J.A. 3048 ¶ 01.07(b).




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               In addition to these contractual obligations, Fluor was required to comply with the

        military’s force protection and base security policies at Bagram Airfield. We turn to those

        policies next.

                                                    C.

               Base security and force protection were the military’s responsibility at Bagram

        Airfield. The military controlled base entry and exit, as well as security inside the

        perimeter. Regarding Local Nationals in particular, the military in some cases identified

        and sponsored certain individuals for training and employment at Bagram Airfield and in

        all cases vetted and approved each Local National for employment on base. The military

        established screening protocols which required that Local Nationals be searched before

        entering the base at Entry Control Points. Inside the perimeter, the military employed

        bomb-sniffing dogs and random searches of Local Nationals and physical areas throughout

        the base. The military also conducted periodic counterintelligence interviews of Local

        Nationals to determine whether they should continue to receive access to the base.

               As part of its security and force protection measures, the military established and

        enforced protocols regarding supervision of the Local National workforce on base. These

        protocols were set forth in an official policy document—the Bagram Airfield Badge,

        Screening, and Access Policy—and subject to change at the discretion of the Bagram

        Support Group (BSG) Commander. Fluor was required to follow the military’s protocols

        for supervising its Local National employees.

               Pursuant to this policy, the Force Protection Screening Cell, under the direction of

        the BSG Commander, granted base-access badges to non-uniformed personnel, including

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        Local Nationals. The badge color determined the wearer’s level of access and need for

        supervision while on base. Red badges were the default for Local Nationals and provided

        the wearer with the least amount of access. According to the policy in effect at the time of

        the suicide bombing, a Local National with a red badge required an escort in all areas of

        Bagram Airfield except his work facility. Escorts were required to “continuously monitor”

        the individuals they were escorting, remaining “in close proximity” and “in constant view”

        of them. J.A. 2892–2893 (internal quotation marks omitted). The BSG Commander could

        authorize qualifying Local Nationals to hold a yellow badge, which represented an increase

        in base access. Yellow badge holders were authorized to travel unescorted at Bagram

        Airfield and were permitted to escort up to ten other Local Nationals. 1

               The military’s security policies also regulated the items that Local Nationals were

        permitted to use while on base. For example, the military prohibited Local Nationals from

        possessing cameras or using networked computers, and the military forbade Local

        Nationals from carrying cellular phones without permission from the BSG Commander.

        The policies did not, however, restrict Local Nationals’ access to tools.

               For obvious reasons, the military required Fluor’s strict compliance with its base

        security and force protection policies, including the badge and escort protocols for

        supervising Local National employees. The military operated a surveillance system


               1
                 Within weeks of the attack, the military changed its base security protocols.
        Among other things, the updated policy eliminated yellow badges, making restrictive red
        badges the only authorized badge for Local Nationals, and it prohibited Local Nationals
        from escorting other Local Nationals at Bagram Airfield. The military also changed the
        policy to require constant escort of red badge holders, “eliminat[ing] the exemption that
        allowed Local Nationals to operate unescorted within their workplace.” J.A. 2953.
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        throughout Bagram Airfield to monitor, among other things, Fluor’s compliance with the

        escort protocols. And on a regular basis, the military conducted feedback sessions to

        compare Fluor’s self-reporting with the military’s surveillance and give Fluor an

        opportunity to correct any deficient performance. It is undisputed that, before the bombing,

        Fluor had proposed providing additional escort supervision of Local Nationals while at

        their work facilities, but the Army rejected that proposal. See, e.g., J.A. 3698 (explaining

        that “the price tag was going to be excessive”).

                                                     D.

                The bombing occurred early in the morning on November 12, 2016, a few hundred

        meters from the starting line for a Veterans Day 5K race at Bagram Airfield. Hencely and

        others observed Nayeb approaching and confronted him.             Nayeb then detonated an

        explosive vest he was wearing under his clothes, killing himself and five others and

        severely wounding seventeen more, including Hencely. The Taliban took credit for the

        attack, claiming it had been planned for months.

                After the bombing, the military conducted a formal investigation under Army

        Regulation 15-6, or “AR 15-6” for short. The military issued its AR 15-6 report on

        December 31, 2016. A heavily redacted version of that report was produced in this

        litigation. 2


                2
                 Hencely moved in limine for an order deeming the redacted AR 15-6 report as
        admissible into evidence. Fluor opposed the motion, arguing among other things that the
        report is unreliable, contains hearsay, and is materially incomplete. The district court
        denied Hencely’s motion without prejudice, concluding it could not “pass on the
        admissibility of a government report that neither it, nor the parties have seen in a form that

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               The AR 15-6 investigation revealed that the military knew Nayeb was a former

        Taliban member. Believing Nayeb had renounced his ties to the insurgency, the military

        had sponsored him for employment as an effort at reintegration. The military vetted Nayeb

        and granted him access to Bagram Airfield with a red badge. The military also conducted

        several counterintelligence screening interviews with Nayeb over his five years of

        employment on base.          According to the AR 15-6 report, Nayeb’s answers to

        counterintelligence questions appeared “trained and coached” during an interview in

        March 2016, several months before the bombing, which in hindsight was a “missed

        indicator” of the threat Nayeb posed to the military’s operations at Bagram Airfield. J.A.

        2943. The investigation further revealed that, the night before the bombing, intelligence

        indicated that an attack was imminent.       Fluor did not have access to this military

        intelligence, nor did the military inform Fluor about Nayeb’s Taliban ties.

               According to the AR 15-6 investigation, Nayeb likely built his bomb vest while

        inside the military base, working as the sole employee on the night shift at the hazardous

        materials work center in the non-tactical vehicle yard, with only sporadic supervision. He

        likely smuggled homemade explosives through security onto the base and then used

        supplemental materials and tools available on base to construct the bomb vest. For

        example, Nayeb checked out tools unassociated with his duties in the hazardous materials

        work center, including a tool called a multimeter, which measures voltage, current, and

        resistance.


        is even close to complete.” J.A. 3907. Hencely did not appeal that ruling. Both parties
        nevertheless discuss the substance of the AR 15-6 report on appeal.
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                On the morning of the attack, Nayeb was supposed to have been escorted by Fluor

        personnel on a bus ride to an Entry Control Point, where the military would then escort

        him off base. At the non-tactical vehicle yard, a Local National coworker signed out Nayeb

        and the other Local National employees at the end of the night shift. At the bus, a Local

        National with a yellow badge and escort responsibilities vouched that all Local Nationals,

        including Nayeb, were accounted for and the bus could leave. But according to the

        AR 15-6 report, Nayeb told a Local National coworker that he would miss the bus because

        he needed to attend a hazardous materials class, which was a lie. The report concluded that

        Nayeb likely did not board the bus but instead walked for 53 minutes, undetected, to the

        blast site.

                In its AR 15-6 report, the military determined “the primary contributing factor” to

        the attack was “Fluor’s complacency and its lack of reasonable supervision of its

        personnel.” J.A. 2917. The report criticized Fluor for lending Nayeb tools his job didn’t

        require, not adequately supervising Nayeb while he worked in the hazardous materials

        work center, and retaining Nayeb despite reported instances of sleeping on the job and

        absences without authority. The report also faulted Fluor for deficient performance of its

        escort duties between the non-tactical vehicle yard and the Entry Control Point. The Army

        concluded that Fluor “did not comply” with its contractual obligations regarding

        “supervision of local national . . . labor and adherence to escort requirements,” but declined

        to terminate Fluor’s contract. J.A. 3293.




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                                                    E.

              Hencely sued Fluor in the U.S. District Court for the District of South Carolina. His

        amended complaint is the operative pleading. It alleges that under South Carolina law

        Fluor was negligent in supervising Nayeb at his worksite and escorting Nayeb the morning

        of the attack, negligent in entrusting tools like a multimeter to Nayeb, and negligent in

        retaining Nayeb despite the “unreasonabl[e] danger[]” he presented. J.A. 1661. The

        amended complaint further alleges vicarious liability, negligent control, and breach of

        contract, specifically breach of the LOGCAP IV contract, Task Order 0005, and the PWS.

        In addition to punitive damages, the amended complaint seeks compensatory damages for

        medical expenses, pain and suffering, and lost income. Fluor denied liability and asserted

        several defenses faulting the military for Hencely’s injuries, including contributory and

        comparative negligence.

              Three dispositive motions filed by Fluor are relevant to this appeal. First, Fluor

        moved to dismiss all of Hencely’s claims as nonjusticiable under the political question

        doctrine. The district court denied that motion and ordered discovery to proceed. See

        Hencely v. Fluor Corp., Inc., No. 6:19-cv-00489-BHH, 2020 WL 2838687 (D.S.C. June 1,

        2020). Subsequently, Fluor moved for judgment on the pleadings regarding Hencely’s

        breach of contract claim. The district court granted that motion, agreeing with Fluor that

        Hencely is not a third-party beneficiary of LOGCAP IV or the related agreements. See

        Hencely v. Fluor Corp., No. 6:19-cv-00489-BHH, 2021 WL 3604781 (D.S.C. Aug. 13,

        2021). And finally, Fluor moved for summary judgment on all remaining claims, arguing

        that the Federal Tort Claims Act’s “combatant activities” exception preempts the state tort

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        laws undergirding those claims. The district court agreed and granted summary judgment

        in Fluor’s favor. See Hencely v. Fluor Corp., 554 F. Supp. 3d 770 (D.S.C. 2021).

               Hencely timely appealed the orders dismissing his claims. In addition to defending

        the district court’s judgments, Fluor also reasserts its position that the political question

        doctrine bars judicial resolution of Hencely’s complaint. We have appellate jurisdiction

        under 28 U.S.C. § 1291.

                                                     II.

               We begin with the political question doctrine, which implicates our authority to

        decide this dispute. 3 The political question doctrine is a “narrow exception” to the general

        rule that “the Judiciary has a responsibility to decide cases properly before it.” Zivotofsky

        ex rel. Zivotofsky v. Clinton, 566 U.S. 189, 194–195 (2012). A controversy involves a

        political question “‘where there is a textually demonstrable constitutional commitment of

        the issue to a coordinate political department’” or “‘a lack of judicially discoverable and

        manageable standards for resolving it.’” Id. at 195 (quoting Nixon v. United States, 506

        U.S. 224, 228 (1993)).

               “‘Most military decisions are matters solely within the purview of the executive

        branch’” and therefore present nonjusticiable political questions. In re: KBR, Inc., Burn

        Pit Litig., 893 F.3d 241, 259 (4th Cir. 2018) (quoting Al Shimari v. CACI Premier Tech.,


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                 Our Court has characterized the political question doctrine as an issue of subject
        matter jurisdiction. See Al Shimari v. CACI Premier Tech., Inc., 840 F.3d 147, 154–155
        (4th Cir. 2016); Taylor v. Kellogg Brown & Root Servs., Inc., 658 F.3d 402, 407 n.9 (4th
        Cir. 2011). “Jurisdictional defects can be raised at any time,” Stewart v. Iancu, 912 F.3d
        693, 701 (4th Cir. 2019), and Hencely does not object to Fluor raising the matter in its
        Response Brief rather than filing a cross-appeal from the district court’s unfavorable ruling.
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        Inc., 758 F.3d 516, 533 (4th Cir. 2014)). “[T]he Constitution delegates authority over

        military affairs to Congress and to the President as Commander in Chief.” Lebron v.

        Rumsfeld, 670 F.3d 540, 548 (4th Cir. 2012). “It contemplates no comparable role for the

        judiciary,” and “judicial review of military decisions would stray from the traditional

        subjects of judicial competence.” Id.

               Given the modern military’s reliance on contractors to support its mission, we have

        recognized that “a military contractor acting under military orders can also invoke the

        political question doctrine as a shield under certain circumstances.” Burn Pit Litig., 893

        F.3d at 259. But “acting under orders of the military does not, in and of itself, insulate the

        claim from judicial review.” Taylor v. Kellogg Brown & Root Servs., Inc., 658 F.3d 402,

        411 (4th Cir. 2011). We have held that a suit against a military contractor raises a

        nonjusticiable political question if either (1) the military exercised direct control over the

        contractor, or (2) “national defense interests were closely intertwined with military

        decisions governing the contractor’s conduct, such that a decision on the merits of the claim

        would require the judiciary to question actual, sensitive judgments made by the

        military.” Al Shimari, 840 F.3d at 155 (internal quotation marks omitted); see Taylor, 658

        F.3d at 411.

               Under the first prong, “a suit against a military contractor presents a political

        question if the military exercised direct control over the contractor,” meaning the military’s

        control was “plenary” and “actual.” Burn Pit Litig., 893 F.3d at 260. The military’s control

        is not plenary if the military “provides the contractor with general guidelines” yet leaves

        the contractor “discretion to determine the manner in which the contractual duties would

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        be performed.”    Id. (internal quotation marks omitted).     Instead, to be plenary, the

        “military’s control over the government contractor must rise to the level of the military’s

        control over the convoy in” Carmichael v. Kellogg, Brown & Root Services, Inc., 572 F.3d

        1271 (11th Cir. 2009). Burn Pit Litig., 893 F.3d at 260. In Carmichael, a fuel truck driven

        by a contractor employee as part of a military convoy on a fuel resupply mission rolled

        over and injured the plaintiff. See Carmichael, 572 F.3d at 1278. The Eleventh Circuit

        “held that the military’s control was plenary, because ‘the military decided the particular

        date and time for the convoy’s departure; the speed at which the convoy was to travel; the

        decision to travel along a particular route[;] how much fuel was to be transported; the

        number of trucks necessary for the task; the speed at which the vehicles would travel; the

        distance to be maintained between vehicles; and the security measures that were to be

        taken.’” Burn Pit Litig., 893 F.3d at 260 (quoting Carmichael, 572 F.3d at 1281).

        Applying that standard in Burn Pit Litigation, our Court concluded that the military’s

        control over a contractor’s waste management was plenary because the contractor “had

        little to no discretion in choosing how to manage the waste.” Id. at 261. “The military

        mandated the use of burn pits” and controlled “where to construct the burn pits, what could

        or could not be burned, when [the contractor] could operate the burn pits, how high the

        flames should be, and how large each burn should be.” Id. In other words, every “‘critical

        determination[] was made exclusively by the military,’” such that the contractor’s

        decisions were “‘de facto military decisions.’” Id. (first quoting Carmichael, 572 F.3d at

        1282, then quoting Taylor, 658 F.3d at 410).



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               The record here does not satisfy our rigorous standard for plenary control. Even

        though the military dictated the security measures for Bagram Airfield, required Fluor to

        comply with military protocols concerning the supervision and escort of Local Nationals

        on base, and decided which Local Nationals Fluor could retain, the level of control the

        military exercised over Fluor’s conduct does not to rise to that of the convoy in Carmichael.

        For example, viewing the evidence in the light most favorable to Hencely, the decision to

        lend Nayeb a multimeter from Fluor’s tool room was not “made exclusively by the

        military” or a “de facto military decision.” Id. (internal quotation marks omitted). On the

        current record, therefore, the military’s control cannot be considered “plenary,” and we

        need not separately address whether it was “actual.” See Burn Pit Litig., 893 F.3d at 260.

               Under the second prong of our Circuit’s test, we must dismiss a case as

        nonjusticiable if “national defense interests were closely intertwined with military

        decisions governing the contractor’s conduct, such that a decision on the merits of the claim

        would require the judiciary to question actual, sensitive judgments made by the military.”

        Al Shimari, 840 F.3d at 155 (internal quotation marks omitted). In making this assessment,

        we “look beyond the complaint, and consider how [Hencely] might prove his claim and

        how [Fluor] would defend.” Taylor, 658 F.3d at 409 (internal quotation marks and brackets

        omitted).

               We have held that a contractor’s “causation defense”—by which it argues that

        military decisions, not the contractor’s actions, caused the plaintiff’s injury—“does not

        require evaluation of the military’s decision making unless (1) the military caused the

        [plaintiff’s] injuries, at least in part, and (2) the [plaintiff] invoke[s] a proportional-liability

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        system that allocates liability based on fault.” In re KBR, Inc., Burn Pit Litig., 744 F.3d

        326, 340–341 (4th Cir. 2014). In other words, a defense that lays the blame for the

        plaintiff’s injuries on military decisions does not raise a political question if it “does not

        necessarily require the district court to evaluate the propriety of” those military judgments.

        Id. at 340. And a district court is not inevitably required to evaluate the reasonableness of

        military judgments if the underlying state law (which forms the basis for the negligence

        claims and defenses) does not actually require the court to assign fault to the military’s

        actions. Compare id. (reasoning that contractor’s “proximate causation defense” would

        not necessarily require court to evaluate the reasonableness of military decisions), with

        Taylor, 658 F.3d at 411 (concluding that contributory negligence defense would

        “invariably require the Court to decide whether the Marines made a reasonable decision,”

        and therefore raised a political question (internal quotation marks and ellipsis omitted)).

               Fluor argues that its “causation defense—i.e., trying the Military as the ‘empty

        chair’ and establishing that pivotal Military judgments caused Plaintiff’s injuries”—would

        require the factfinder to evaluate the reasonableness of military decisions. Response Br.

        50. Our precedent compels us to conclude otherwise. South Carolina law, which the

        parties have assumed applies to Hencely’s negligence claims and to Fluor’s defenses, 4

        prohibits a jury from assigning fault to an immune nonparty. See Machin v. Carus Corp.,



               4
                 On appeal, Fluor faults the district court for “assuming application of South
        Carolina law without conducting a choice-of-law analysis,” which it says would “lead to
        Afghan law” as the law of the place where the injury occurred. Response Br. 52–53. But
        Fluor itself has invoked South Carolina law throughout this litigation. And Fluor has not
        provided any indication in its brief how the outcome would be different under Afghan law.
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        799 S.E.2d 468, 478 (S.C. 2017) (“[A] nonparty may be included in the allocation of fault

        only where such person or entity is a ‘potential tortfeasor,’ which, under our law, excludes

        [a third party] who is immune from suit[.]”). And it is undisputed that the military is an

        immune nonparty. See 28 U.S.C. § 2680(j); Feres v. United States, 340 U.S. 135, 146

        (1950) (“[T]he Government is not liable under the Federal Tort Claims Act for injuries to

        servicemen where the injuries arise out of or are in the course of activity incident to

        service.”); Brame v. Garner, 101 S.E.2d 292, 294 (S.C. 1957) (acknowledging that the

        military is immune from suit). Accordingly, although Fluor’s defense may require the

        district court “to decide if the military made decisions” that caused Hencely’s injuries, it

        “does not necessarily require the district court to evaluate the propriety of [those]

        judgments” because the court cannot assign fault to the military. Burn Pit Litig., 744 F.3d

        at 340.

                  Fluor emphasizes that courts lack standards to evaluate “when it is ‘reasonable’ to

        allow a known terrorist inside a secure Military facility,” or “what level of supervision or

        escorting is ‘reasonable’ given the Military’s competing demands, resource limits, and

        policy objectives.” Response Br. 49; cf., e.g., Taylor, 658 F.3d at 412 n.13 (“[W]e have

        no discoverable and manageable standards for evaluating how electric power is supplied

        to a military base in a combat theatre or who should be authorized to work on the generators

        supplying that power.”); Tiffany v. United States, 931 F.2d 271, 279 (4th Cir. 1991)

        (“Judges have no ‘judicially discoverable and manageable standards for resolving’ whether

        necessities of national defense outweigh risks to civilian aircraft.” (quoting Baker v. Carr,

        369 U.S. 186, 217 (1962)). While it is certainly true that courts are not equipped or

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        authorized to evaluate the military’s “delicate appraisals of relative dangers,” Tiffany, 931

        F.2d at 278, it does not yet appear that litigating Hencely’s negligence claims and Fluor’s

        defenses would “invariably require” the factfinder to judge whether the military’s decisions

        were reasonable, as opposed to evaluating only whether those decisions caused Hencely’s

        injuries, Burn Pit Litig., 744 F.3d at 340 (internal quotation mark omitted). That is where

        our Court has drawn the line for justiciability under this second prong of our military

        contractor political question test.

                 In sum, while the question may be closer than the district court’s pre-discovery

        ruling suggested, we are not convinced that deciding Hencely’s case would cause the court

        to “inevitably be drawn into a reconsideration of military decisions.” Lane v. Halliburton,

        529 F.3d 548, 563 (5th Cir. 2008). The political question doctrine therefore poses no bar

        to judicial review of the merits of this dispute.

                                                      III.

                 We turn now to the heart of this appeal: federal preemption of Hencely’s negligence

        claims. The district court held that uniquely federal interests represented by the Federal

        Tort Claims Act’s combatant activities exception displaced Hencely’s state-law claims for

        negligent supervision, entrustment, escort, and retention. We review the district court’s

        judgment de novo, applying the same summary judgment standard that court was required

        to apply. Calloway v. Lokey, 948 F.3d 194, 201 (4th Cir. 2020); see also Fed. R. Civ. P.

        56(a).




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                                                     A.

               In the Federal Tort Claims Act (FTCA), “Congress authorized damages to be

        recovered against the United States for harm caused by the negligent or wrongful conduct

        of Government employees, to the extent that a private person would be liable under the law

        of the place where the conduct occurred.” Boyle v. United Tech. Corp., 487 U.S. 500, 511

        (1988); see 28 U.S.C. § 1346(b). It exempted from this consent to suit, however, “[a]ny

        claim arising out of the combatant activities of the military or naval forces, or the Coast

        Guard, during time of war.” 28 U.S.C. § 2680(j). By their terms, these provisions do not

        apply to government contractors. 28 U.S.C. § 2671. Nevertheless, the combatant activities

        exception reflects an important federal policy of “foreclos[ing] state regulation of the

        military’s battlefield conduct and decisions.” Burn Pit Litig., 744 F.3d at 348 (internal

        quotation marks omitted).

               As the Supreme Court has explained, in areas involving “uniquely federal interests,”

        an FTCA exception can demonstrate “the potential for, and suggest[] the outlines of,

        significant conflict between federal interests and state law” sufficient to warrant federal

        preemption even absent a statutory directive or direct conflict. Boyle, 487 U.S. at 504, 507,

        511 (internal quotation marks omitted). In Boyle, for instance, the Supreme Court held that

        the policy reflected in the FTCA’s discretionary function exception, 28 U.S.C. § 2680(a),

        preempted and barred a plaintiff’s state-law design-defect claim against the manufacturer

        of a military helicopter built for the United States. 487 U.S. at 512–513.

               Recognizing the conflict between federal and state interests in the realm of warfare,

        several federal circuit courts, including our own, have extended Boyle’s logic to the

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        FTCA’s combatant activities exception. See Saleh v. Titan Corp., 580 F.3d 1, 9 (D.C. Cir.

        2009); Badilla v. Midwest Air Traffic Control Serv., Inc., 8 F.4th 105, 127–128 (2d Cir.

        2021); Harris v. Kellogg Brown & Root Servs., Inc., 724 F.3d 458, 480–481 (3d Cir. 2013);

        Burn Pit Litig., 744 F.3d 326, 350–351 (4th Cir. 2014); Koohi v. United States, 976 F.2d

        1328, 1337 (9th Cir. 1992). As our Court has explained, however, the conflict between

        federal and state interests in this context “is much broader” than the discrete inconsistency

        between federal and state duties in Boyle. Burn Pit Litig., 744 F.3d at 349 (internal

        quotation marks omitted). “Instead, when state tort law touches the military’s battlefield

        conduct and decisions, it inevitably conflicts with the combatant activity exception’s goal

        of eliminating such regulation of the military during wartime.” Id. In other words, when

        it comes to warfare, “‘the federal government occupies the field’” and “‘its interest in

        combat is always precisely contrary to the imposition of a non-federal tort duty.’” Id.

        (quoting Saleh, 580 F.3d at 7).

               We have adopted the D.C. Circuit’s test in Saleh to ensure preemption when state

        tort laws would clash with the federal interest underlying the combatant activities

        exception. See Burn Pit I, 744 F.3d at 351. Pursuant to this test, “‘[d]uring wartime, where

        a private service contractor is integrated into combatant activities over which the military

        retains command authority, a tort claim arising out of the contractor’s engagement in such

        activities shall be preempted.’” Id. at 349 (quoting Saleh, 580 F.3d at 9).

               The military “need not maintain ‘exclusive operational control’ over the contractor

        for the government to have an interest in immunizing a military operation from suit.” Id.

        (quoting Saleh, 580 F.3d at 8–9). This test therefore allows “the contractor to exert ‘some

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        limited influence over an operation,’ as long as the military ‘retain[s] command

        authority.’” 5 Id. (quoting Saleh, 580 F.3d at 8–9). At the same time, it leaves open the

        possibility that a contractor might “supply[] services in such a discrete manner” that those

        services could be judged by state tort law without touching the military’s battlefield

        conduct and decisions, analogous to a contractor who, in its “sole discretion,” chooses

        specifications for a product it then sells to the Government. Saleh, 580 F.3d at 9.

                                                     B.

               Hencely does not contest that, applying this Court’s precedent, Fluor was

        “integrated into combatant activities” at Bagram Airfield. Burn Pit Litig., 744 F.3d at 351.

        We view “combatant activities” through a “broad[] lens” to include “not only physical

        violence, but activities both necessary to and in direct connection with actual hostilities.”

        Id. at 351 (internal quotation marks omitted). For example, in Burn Pit Litigation, we held

        that “waste management and water treatment functions to aid military personnel in a

        combat area [are] undoubtedly” combatant activities. Id. We agree with Hencely that

        Fluor was engaged in combatant activities at Bagram Airfield and that the particular

        activity at issue in Hencely’s lawsuit—supervising Local National employees on a military

        base in a theater of war—so qualifies.

               We also conclude that “the military retained command authority” over Fluor’s

        supervision of Local National employees on the base. Id. (internal quotation marks and


               5
                 The military’s ultimate command authority over a combatant activity for purposes
        of preemption is accordingly distinguished from direct plenary control as envisioned by
        our political question jurisprudence, under which the contractor’s determinations are actual
        or de facto military decisions.
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        brackets omitted). To begin, the Army instructed Fluor to hire Local Nationals as part of

        advancing the military’s counterinsurgency strategy in Afghanistan, specifically the

        Afghan First Program. The military then reserved for itself decisions about containing the

        security threat posed by hiring Local Nationals to work on the military base. In particular,

        the Army decided which Local Nationals could access the base for employment and the

        Army dictated when, where, and how Fluor must escort and supervise each of those Local

        National employees.

               The military, independent of Fluor, screened and approved Local Nationals for

        employment. The military vetted Nayeb and, knowing his history as a Taliban member,

        sponsored him for employment and granted him access to Bagram Airfield as a strategic

        effort at reintegration. The military periodically conducted security screening interviews

        of Local Nationals to determine whether their base access privileges should be terminated.

        The military interviewed Nayeb for security purposes at least seven times before and during

        his employment and each time decided he should retain base access for continued

        employment. Those judgments belonged to the military alone.

               Like with hiring, the military controlled base security, including entry and exit.

        Local Nationals could not enter the base without a military-issued badge. The military

        required physical searches and biometric screening of Local Nationals entering the base at

        Entry Control Points. Inside the perimeter, the military used bomb-sniffing dogs and

        performed random searches of Local Nationals and physical areas throughout the base.

        When Local Nationals arrived back at Entry Control Points after their shifts, the military



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        escorted them off the base. As Hencely’s counsel put it, “the military had effective

        command over security on the base.” Oral Argument at 40:10.

               As part of its mandate over base security, the military exercised comprehensive

        command over Fluor’s supervision of Local Nationals’ on-base movements and activities.

        Military protocols specified the items Local Nationals were forbidden to possess or use,

        like two-way radios and cameras. The military dictated whether, when, and how each

        Local National must be escorted while on base, and the military decided who had escort

        authority. For red badge holders like Nayeb, the military required an escort to “remain in

        close proximity and remain in constant view” of the Local National “in all areas” of

        Bagram Airfield “except [the] work facility.” J.A. 2892–2893 (internal quotation marks

        and emphases omitted). The military’s authority over escorting is illustrated by its

        rejection of Fluor’s proposal, before the bombing, to provide constant escort supervision

        of Local Nationals, even at their worksites. 6 Fluor could make a proposal, but the Army

        made the decisions. The military required Fluor to follow its escort protocols, trained Fluor

        personnel with escort duties, and operated a surveillance system to monitor and enforce

        Fluor’s compliance.

               The military’s command authority over Local National employment and

        supervision at Bagram Airfield is further demonstrated by the changes it quickly—and

        unilaterally—instituted after the bombing. Within weeks of the bombing, the military


               6
                Viewing the facts and all reasonable inferences in the light most favorable to
        Hencely, as we must, see Ballengee v. CBS Broadcasting, Inc., 968 F.3d 344, 349 (4th Cir.
        2020), we do not infer from this rejection that the Army forbade Fluor from supervising
        the work of its Local National employees.
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        altered its base security policies to require increased supervision of Local Nationals. Most

        notably, the new protocols required all Local Nationals to be escorted at all times while on

        base, removing the exception for when Local Nationals were at their worksite and entirely

        eliminating yellow badges (which did not require an escort and had been permitted to escort

        other Local Nationals). Military authorities also made the decision to greatly reduce the

        number of Local Nationals on base to around one hundred. As a result, the military sent

        well over 1,000 Local Nationals packing, ending their employment at Bagram Airfield.

               The fact that Fluor possessed some discretion when operating within this framework

        does not eliminate the conflict between state tort law and federal interests presented here.

        Viewing the facts and all reasonable inferences in the light most favorable to Hencely, see

        Ballengee, 968 F.3d at 349, we will infer that (1) Fluor could decline to lend its employees

        tools it didn’t think they needed to complete their jobs, even if the Army didn’t forbid Local

        Nationals from possessing those tools, and (2) Fluor could monitor its employees’ work

        and fire them for poor performance, even if they were Local Nationals sponsored by the

        military and approved for base access.        The military nevertheless retained ultimate

        command authority over supervision of Local Nationals and the protocols necessary to

        mitigate the risk posed by their presence on base. See Burn Pit Litig., 744 F.3d at 349

        (explaining that the Saleh test “allow[s] the contractor to exert ‘some limited influence over

        an operation,’ as long as the military ‘retain[s] command authority’” (quoting Saleh, 580

        F.3d at 8–9)). Based on the military’s assessment of the security threat presented by any

        given Local National, the military would authorize employment at Bagram Airfield or

        terminate it, the military dictated when and how the Local National must be supervised,

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        and the military decided what items the Local National should be forbidden to use.

        Imposing state tort concepts of reasonableness onto Fluor’s supervision of Local Nationals

        pursuant to these military directives would inevitably “touch[] the military’s battlefield

        conduct and decisions” and even invite “‘judicial probing of the government’s wartime

        policies.’” Burn Pit Litig., 744 F.3d at 349 & n.11 (quoting Saleh, 580 F.3d at 8); see also

        Saleh, 580 F.3d at 8 (“Such proceedings, no doubt, will as often as not devolve into an

        exercise in finger-pointing between the defendant contractor and the military . . . .”).

               This is not a situation where Fluor “suppl[ied] services in such a discrete manner”

        that its “services could be judged separate and apart from” the combatant activities and

        decisions of the United States military. Saleh, 580 F.3d at 9. To the contrary, the Army

        instructed Fluor to hire Local Nationals, directed where and how Fluor must escort and

        supervise Local Nationals, and decided whether Local Nationals could continue to access

        the base for employment. Fluor’s exercise of its limited discretion concerning Local

        Nationals occurred within strictures set by the military based on its priorities and risk

        assessments. Hencely responds that Fluor could comply with state tort duties and the

        military’s directives. For example, Fluor could have denied Nayeb access to a multimeter

        without violating the military’s policy forbidding Local Nationals to use certain items. But

        that argument overlooks the “more general” nature of “battle-field preemption.” Saleh,

        580 F.3d at 7. “In the context of the combatant activities exception, the relevant question

        is not so much whether the substance of the federal duty is inconsistent with a hypothetical

        duty imposed by the state.” Id. “Rather, it is the imposition per se of the state . . . tort law

        that conflicts” with the federal policy of eliminating such regulation of the military during

                                                      25
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        wartime. 7 Id.; see Burn Pit Litig., 744 F.3d at 349. Our “ultimate military authority” test

        reflects the breadth of this displacement of state law. Saleh, 580 F.3d at 12; see also Burn

        Pit Litig., 744 F.3d at 351 (state tort law is preempted “when it affects activities stemming

        from military commands”). Because the military retained command authority over the

        supervision of Local Nationals at Bagram Airfield, a combatant activity into which Fluor

        was undisputedly integrated, Hencely’s tort claims arising out of such activities are

        preempted.

               Hencely raises three additional arguments regarding preemption. First, he contends

        that Fluor’s contract with the Army was a performance-based statement of work and did

        “not provide any direction to Fluor about how it was to supervise its workers.” Opening

        Br. 34. He likens this case to Harris, where the Third Circuit held that a performance-

        based statement of work defeated preemption because, by defining the contractor’s duties

        for maintaining barracks electrical systems in terms of results rather than processes, the

        military did not retain command authority over the contractor’s performance of the

        contract. See 724 F.3d at 481–482.

               As an initial matter, our Court has not treated a performance-based statement of

        work as fatal to a combatant activities preemption defense. Indeed, we adopted our

        preemption rule in a case involving a performance-based LOGCAP contract. See Burn Pit



               7
                 As the Saleh court observed, the rationales for tort law, like “deterrence of risk-
        taking behavior,” “are singularly out of place in combat situations, where risk-taking is the
        rule.” 580 F.3d at 7. That observation is equally true here, where the military took the
        calculated risk to bring Local Nationals, including known former insurgents, on base for
        employment in order to further its counterinsurgency strategy in Afghanistan.
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        Litig., 744 F.3d at 332 (LOGCAP III); Burn Pit Litig., 893 F.3d at 257 (“LOGCAP III was

        a performance-based contract”).

               More to the point, the PWS obligated Fluor to follow the military’s base security

        protocols, which dictated processes, not merely results. Although the PWS assigned Fluor

        responsibility for “oversight of . . . personnel . . . to ensure compliance with” and

        performance of its contract, J.A. 394 ¶ 1.07(b), military protocols for Bagram Airfield—

        including the badge-and-escort policy—directed Fluor’s supervision of Local Nationals in

        much greater detail. It was the military, as part of its command over base security, that

        established the requirements for supervising and escorting Local Nationals and was

        ultimately responsible for ensuring those requirements were followed. Hencely alleges

        that Fluor didn’t keep eyes on Nayeb while he worked, didn’t restrict his access to tools

        used to make the bomb, disregarded an “unreasonably dangerous” risk by retaining him,

        and failed to follow the military’s escort protocols the morning of the attack. J.A. 1661.

        These are matters of base security over which the military maintained ultimate authority,

        not judgments about the quality of an employee’s work in the non-tactical vehicle yard.

        The military decided which Local Nationals to permit and which to exclude at Bagram

        Airfield; how to screen for explosives and other threats at the base; which Local Nationals

        needed what levels of access and eyes-on escorting; if escorting was needed, the where,

        when, and how of such supervision; what items Local Nationals were not permitted to

        handle while on base; and what procedures were necessary to ensure Local Nationals exited

        the base. Although Fluor retained primary authority over monitoring its employees’

        contract performance, it did not have discretion to decide the terms of Local National

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        supervision necessary for base security. The military did not give Fluor responsibility for

        determining how best to protect U.S. personnel from the risk posed by Fluor’s Local

        National employees; the military commanded how that mission was performed.

               Hencely next argues that preemption should not apply because he has alleged that

        Fluor did not follow Army instructions and failed to comply with its contractual

        obligations. This argument misunderstands the nature of combatant activities preemption.

        As we have previously explained, “the purpose of the combatant activities exception is not

        protecting contractors who adhere to the terms of their contracts; the exception aims to

        foreclose state regulation of the military’s battlefield conduct and decisions.” Burn Pit

        Litig., 744 F.3d at 350 (internal quotation marks omitted). Our preemption rule preserves

        the field of wartime decisionmaking exclusively for the federal government. Id.; see also

        Saleh, 580 F.3d at 6. That remains true in cases of “alleged contractor misconduct.” Burn

        Pit Litig., 744 F.3d 349 n.11 (internal quotation marks omitted). Indeed, in Burn Pit

        Litigation, we explained that one reason for battlefield preemption is to avoid potential

        interference “‘with the federal government’s authority to punish and deter misconduct by

        its own contractors.’” Id. (quoting Saleh, 580 F.3d at 8); see also Saleh, 580 F.3d at 5

        (holding plaintiffs’ tort claims preempted, including “allegations that [a contractor]

        breached its contract”).

               Finally, Hencely asserts that the Fluor employees and subcontractors who escorted

        Local Nationals were not “within the Army’s chain of command.” Opening Br. 32. As

        Fluor correctly notes, however, under Army regulations, no private services contractor is

        ever “part of the operational chain of command.” Army Reg. 715-9 ¶ 4-1.d (Mar. 2017);

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        cf. id. (“Commanders have direct authority over [contractors] working on military facilities

        for matters of administrative procedures and requirements, force protection, and safety of

        the force.”). And as the Saleh test reflects, the pertinent inquiry is whether the military

        retained command authority over the combatant activities into which the contractor was

        integrated. Burn Pit Litig., 744 F.3d at 349. Here, we are satisfied the military did retain

        such authority. Viewing the evidence in the light most favorable to Hencely, we conclude

        that the military retained command authority over supervision of Local Nationals at

        Bagram Airfield, and so Hencely’s tort claims against Fluor arising out of that combatant

        activity are preempted.

                                                    IV.

               We turn, lastly, to Hencely’s breach of contract claim, which is premised on the

        notion that he is an intended third-party beneficiary of the LOGCAP IV contract between

        Fluor and the United States. The district court rejected this argument and granted judgment

        for Fluor on the pleadings. See Fed. R. Civ. P. 12(c). Our review is de novo. See Drager

        v. PLIVA USA, Inc., 741 F.3d 470, 474 (4th Cir. 2014).

               Generally, a motion for judgment on the pleadings should be granted only when “it

        appears certain that the plaintiff cannot prove any set of facts in support of his claim

        entitling him to relief.” Id. (internal quotation marks omitted). In considering such a

        motion, “we accept as true all well-pleaded allegations and view the complaint in the light

        most favorable to the plaintiff,” but we need not “accept as true the legal conclusions set

        forth in a plaintiff’s complaint.” Sec’y of State for Defence v. Trimble Navigation Ltd., 484

        F.3d 700, 705 (4th Cir. 2007) (internal quotation marks omitted); see Drager, 741 F.3d at

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        474. We can consider the LOGCAP IV contract, which Fluor attached to its motion and

        the parties agree is “integral to the complaint and authentic.” Trimble Navigation, 484 F.3d

        at 705. While “the inquiry into third-party beneficiary status is fact sensitive,” resolution

        of the issue on the pleadings is appropriate when, as here, “the relevant documents are

        properly before this Court” and the pleadings and agreements preclude the plaintiff’s claim

        to third-party beneficiary status. Id. at 709.

               “The appropriate test under federal common law for third-party beneficiary status

        is whether the contract reflects the express or implied intention of the parties to benefit the

        third party.” 8   Id. at 706 (internal quotation marks omitted).       “This intent may be

        determined by the contract itself, as well as the circumstances surrounding its formation.”

        Id. (internal quotation marks omitted). Third-party beneficiary status “is exceptional in the

        law” and “should not be granted liberally.” Id. (internal quotation marks omitted).

               Our opinion in Trimble Navigation illustrates these principles. In that case, the

        United Kingdom sought to purchase auxiliary output chips from an American

        manufacturer. Given the sensitive nature of the product, federal law prohibited the foreign

        government from purchasing the chips directly from the American manufacturer and

        instead required the United Kingdom to contract with the United States, which, in turn,

        contracted with the manufacturer to purchase the product. When the chips proved less than



               8
                 The parties agree that federal common law governs Hencely’s breach of contract
        claim. See 48 C.F.R. § 52.233-4 (“United States law will apply to resolve any claim of
        breach of this contract.”); J.A. 2291 § I-115 (LOGCAP IV) (incorporating 48 C.F.R.
        § 52.233-4); cf. Boyle, 487 U.S. at 504 (“[O]bligations to and rights of the United States
        under its contracts are governed exclusively by federal law.”).
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        satisfactory, the U.K. sued the manufacturer in federal court, claiming to be a third-party

        beneficiary of the contract between the manufacturer and the U.S. We held otherwise.

        Among other things, we noted the absence of indicia that the U.S. or the manufacturer

        intended to benefit the U.K. Specifically, we observed that the manufacturer’s agreements

        with the U.S. “d[id] not explicitly mention that they [were] for the benefit of [the] UK.”

        Id. at 708. Nor did those agreements “mention . . . any involvement of [the] UK,” such as

        approving the chips, “as a condition to [the manufacturer’s] receipt of payment” from the

        U.S. Id. Although the agreement between the U.S. and the manufacturer referenced the

        U.S.-U.K. contract and stated that ultimate delivery of the chips was to be made to the

        U.K., we found such facts insufficient to show the intent necessary to create third-party

        beneficiary status. See id. We also found it significant that the U.S.-U.K. contract set forth

        a comprehensive set of dispute-resolution procedures, which further demonstrated that the

        U.S. did not intend for the U.K. to be able to sue the American manufacturer directly. See

        id.

               Applying those principles here, Hencely has not pleaded facts sufficient to plausibly

        establish that he is an intended third-party beneficiary of the LOGCAP IV contract. The

        United States and Fluor did not evidence intent to benefit Hencely, or U.S. soldiers as a

        class, in the LOGCAP IV contract or its implementing agreements.

               First, the LOGCAP IV contract and implementing agreements do not expressly state

        that they are for the benefit of servicemen. Further, nothing in those documents purports

        to confer upon soldiers rights or benefits under the contract. As our precedent reflects, it

        is not enough that the United States bought Fluor’s goods and services with the intent

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        ultimately to provide them to soldiers. See Trimble Navigation, 484 F.3d at 708; cf.

        Restatement (Second) of Contracts § 313 cmt. a (“Government contracts often benefit the

        public, but individual members of the public are treated as incidental beneficiaries unless

        a different intention is manifested.”).

               Second, nothing in the LOGCAP IV contract or implementing agreements suggests

        that individual servicemen can sue to enforce its provisions. Hencely cites a regulation

        incorporated into LOGCAP IV that mentions the possibility of “liabilities of the Contractor

        to third parties arising out of performing this contract.” 48 C.F.R. § 52.232-7(g)(2). But

        contemplating that a contractor may face some sort of liability to some variety of third

        party while performing the contract is a far cry from intending to confer contractual

        benefits, and the right to enforce them, on an identified group of individuals. Moreover,

        LOGCAP IV and its incorporated regulations provide a detailed set of dispute-resolution

        procedures, none of which contemplate enforcement by third-party beneficiaries.

               Third, no other factual allegations in Hencely’s complaint support his conclusory

        assertion that “U.S. soldiers . . . were the intended third party beneficiaries of these

        contracts.” J.A. 1666. Hencely quotes some of Fluor’s advertising materials, which state

        in one form or another that Fluor is proud to support the U.S. military and feels a

        responsibility to individual soldiers. These extra-contractual statements do not reveal an

        intent by Fluor, during contract formation, to confer benefits on individual soldiers in the

        LOGCAP IV contract, nor do they say anything about the intent of the United States, the

        other contracting party.



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              Finally, Hencely has identified no decision of any court holding that individual

        servicemen can sue as third-party beneficiaries to enforce the LOGCAP IV contract or any

        contract between the U.S. Government and a private military contractor. For all these

        reasons, we affirm the district court’s judgment on the pleadings in favor of Fluor on

        Hencely’s breach of contract claim.

                                                   V.

              The federal government’s interest in preventing military policy and base security

        from being governed by the laws of fifty-one separate sovereigns is “obvious.” Saleh, 580

        F.3d at 11. This significant federal interest preempts Hencely’s tort claims against Fluor

        arising out of its supervision of Local Nationals at Bagram Airfield under the military’s

        ultimate authority. As for Hencely’s contract claim, we have seen no indication that

        individual servicemen are entitled to sue for breach of the contracts between the U.S.

        Government and Fluor. The judgment of the district court is affirmed.

                                                                                     AFFIRMED




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        TOBY HEYTENS, Circuit Judge, concurring in part and dissenting in part:

               My disagreement is narrow and limited. I agree the political question doctrine does

        not prevent a court from deciding this case. I agree Hencely was not a third-party

        beneficiary to Fluor’s contract with the government. And I agree Hencely’s negligent

        supervision and negligent control claims are preempted.

               I would, however, reverse the district court’s grant of summary judgment to Fluor

        on Hencely’s negligent entrustment and negligent retention claims. Here too, I agree the

        first requirement for preemption is satisfied because Fluor was “integrated into combatant

        activities” at Bagram Airfield. In re KBR, Inc., Burn Pit Litig., 744 F.3d 326, 351 (4th Cir.

        2014) (quotation marks removed). But I think there are genuine disputes of fact relevant to

        the second preemption requirement—whether the military “retained command authority”

        over certain types of decisions. Id. (quotation marks and alterations removed). In particular,

        I think a reasonable adjudicator could find that Fluor retained “considerable discretion”

        over whether to allow employees to access tools they did not need or fire employees for

        poor job performance. Harris v. Kellogg Brown & Root Servs., Inc., 724 F.3d 458, 481 (3d

        Cir. 2013). I thus would vacate the district court’s judgment in part and remand for further

        proceedings.




                                                     34
